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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 UNITED STATES OF AMERICA

 v.

 EDWARD CONSTANTINESCU,                              No. 4:22-CR-00612-S
 PERRY “PJ” MATLOCK,
 JOHN RYBARCZYK,
 GARY DEEL,
 STEFAN HRVATIN,
 TOM COOPERMAN,
 MITCHELL HENNESSEY,
 DANIEL KNIGHT.


               DEFENDANT EDWARD CONSTANTINESCU’S
  MOTION TO SUPPRESS EVIDENCE FROM AN ILLEGAL GENERAL SEARCH
   JOINED BY DEFENDANTS PERRY MATLOCK, JOHN RYBARCZYK, GARY
  DEEL, STEFAN HRVATIN, TOM COOPERMAN, AND MITCHELL HENNESSEY

        One of the hallmarks of the Fourth Amendment is the prohibition against general

searches. To protect against general searches, the Fourth Amendment requires that the warrants

that provide the government with legal authority to conduct a search set out the scope of the

search with particularity. As more of everyday life is recorded online, the Fourth Amendment’s

protections against government misuse of that data become increasingly critical. As Justice

Scalia wrote, “[i]t would be foolish to contend that the degree of privacy secured to citizens by

the Fourth Amendment has been entirely unaffected by the advance of technology.” Kyllo v.

United States, 533 U.S. 27, 33-34 (2001). And he was right. The advancement of technology

has led to electronic service providers maintaining vast treasure troves of electronic evidence

commonly searched and seized by the federal government in criminal cases. Several courts

across the country have expressed caution, if not outright distrust, of granting the government

broad leeway in handling the electronic data from these providers in a way that potentially


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destroys the Fourth Amendment’s particularity requirement and eviscerates the boundaries of

search warrants. The government’s actions in this case fan the flames of those concerns.

       Here, the government obtained search warrants so it could compel the production of

private electronic data from Twitter and Discord customer accounts. Both of the warrants

contemplated a two-step process: Twitter and Discord were directed to produce to the

government virtually all data associated with these accounts, including the customers’ private

messages and other data that Twitter and Discord maintained as private. The search warrants

then limited the government’s authority to seize only those Twitter and Discord records that were

further limited by categories delineated in Section II of Attachment B to the warrants.

       Instead of following the warrants’ limitations, the government ignored the particularity

constraints required by the Fourth Amendment and transformed its handling of the Twitter and

Discord private customer account data into general searches prohibited by the Fourth

Amendment. First, the government attempted to ignore the scope of Section II’s limitations by

writing into the warrants not only that the government’s lawyers could assist in the search and

seizure of data, but also that the FBI be permitted to send a complete copy of the data—even

those records that the government was not permitted to seize—for the government attorneys’

unlimited, “independent review.” Permitting the government attorneys to conduct “independent”

review of data for as long as they may desire eliminated all particularity limitations in the

warrants and essentially allowed the government’s attorneys the ability to seize all of the data: a

per se general search. Second, the government ignored the clear time limitations contained in

the warrants. The warrants commanded the government to execute them within 14 days of the

warrants’ signing, and commanded both Twitter and Discord to produce responsive records

within 14 days of the warrants’ issuance. While the FBI received and processed the data that




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Twitter provided at the direction of the warrants in September 2022, several months thereafter

someone within the government decided that Twitter probably had additional records responsive

to the warrant that the government wanted. Notwithstanding that the warrant was expired by

several months, and notwithstanding the 14-day limitation, the government commanded Twitter

to make a second production of data in the Spring of 2023, in plain contravention of Federal Rule

of Criminal Procedure 41(e)(2)(B).

       But by far the most troubling actions come from the government’s attorneys, who have

repeatedly chosen to ignore the Section II limitations of both warrants that provide the necessary

particularity of what the government is permitted to seize. Perhaps a result of the government

attorney maintaining an inappropriate, “independent” copy, the government has now disclosed

on multiple occasions that it has accessed, processed, and produced to several different teams of

defense attorneys and defendants in this case data that by the government’s own admission it has

no authority to seize and was deemed responsive to the Section II limitations of the warrants.

This includes seemingly all of the data produced to the government by Twitter and Discord—

including (1) private communications transmitted through these accounts; (2) data that the

government has repeatedly admitted it did not seize under the limitations contained in the search

warrants; and (3) data for which it does not have probable cause to believe contains evidence of

crimes, is not curtailed by time limitations, and is not tied to offenses under investigation. The

government’s actions ignored the warrants’ limitations, were not reasonable, and rendered the

government’s handling of the produced Twitter and Discord data a general search that

unquestionably violates the Fourth Amendment.

       The government’s actions are akin to seeking a warrant to search a house, seizing items

in the house that are responsive to the warrant, and then maintaining a set of keys to the house. It




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is if, then, the government returned to the house several months later, demanded from the

homeowners that they provide additional materials contained in the house, used their copies of

the keys to walk through the house whenever the government desired, remove everything from

the house regardless of its significance to the case or probable cause, and subsequently gave

copies of what the government took from the house to other individuals, all while the

government acknowledges that this conduct is outside the legal authority set forth in the warrant.

       The Fourth Amendment does not permit such a practice, even with electronic evidence.

The government’s disregard of the limitations within the search warrants, including the seizure

and production of records that by its own admission exceeds the permissible bounds of what the

warrant authorized the government to seize is a flagrant, unconstitutional general search.

       Unfortunately, the government’s decision to ignore the warrants’ limitations was not the

result of exigency, misunderstanding, or the inadvertent production of a handful of records.

Here, just as in United States v. Wey, 256 F. Supp. 3d 355 (S.D.N.Y. 2017), the government’s

attorneys and “agents—who are charged with reasonable knowledge of what the law prohibits—

appear to have disregarded well-established constitutional principles that provide a bulwark

against the execution of general warrants.” Id. at 408. And as the Fifth Circuit has recognized,

the need to deter such general searches countenances blanket suppression of the data obtained

from the warrants and any testimony pertaining thereto. Accord United States v. Kimbrough, 69

F.3d 723, 728 (5th Cir. 1995). Accordingly defendants Edward Constantinescu, Perry Matlock,

John Rybarczyk, Gary Deel, Stefan Hrvatin, Tom Cooperman, and Mitchell Hennessey

(collectively, “Defendants”) respectfully request, pursuant to the Fourth Amendment and Rules

12 and 41 of the Federal Rules of Criminal Procedure, that the Court order the Twitter and




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Discord data be suppressed and require the government to immediately return or destroy the data

it has misused while in its possession.1

         PARTICULARIZED FACTUAL BASIS SUPPORTING SUPPRESSION2

       Twitter (now known as “X”) is a social media service that provides customers with a

variety of ways to communicate through their customer accounts. Customers maintain a

username and password to access their Twitter accounts. Twitter permits its customers to send,

among other things, “direct messages,” the vehicle through which Twitter permits its customers

“to have private conversations with people” using their Twitter accounts. See Ex. A (Twitter

website describing direct messages). Twitter provides customers with various options to

control the privacy settings on their accounts and has taken legal action to protect the privacy

interests of its customers’ account data from disclosure, even when confronted with demands

from criminal defendants for data that could be exculpatory. See, e.g., Pet. for Writ of Cert. by

Facebook, Inc. & Twitter Inc., Facebook Inc. v. Superior Ct. of Cal., San Francisco Cnty., No.

19-1006 (U.S. Feb. 7, 2020) (attached hereto as Ex. B) (asserting that the case “[t]hreatens the

[p]rivacy [i]nterests of [m]illions of Americans”).

       Discord is an instant messaging and social media platform that offers chat rooms, voice

calls, and direct messaging for its customers through their customer accounts. Like Twitter,

customers maintain a username and password to access their Discord accounts. Discord



1
  To the extent the government shared the substance or records with the SEC in connection with
their joint investigation (or anyone else), the government should be required to disclose who this
information has been shared with and should be required to provide a copy of an order from this
Court demanding destruction of any such record.
2
  These allegations are taken from the government’s search warrant affidavits, the discovery
produced by the government in this case, publicly available websites, and exhibits attached to
this brief.

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customers are able to access certain “servers,” which are spaces on Discord that customers can

create and invite their friends to join. Customers can also join an existing server. At times,

customers who join particular servers must first accept and acknowledge terms of service that

are created by the customer who controls the server. See, e.g., Ex. C (Agreement and Terms of

Service for Atlas Trading server on Discord). The customer who controls the server has the

ability, generally speaking, to remove other customers from that server. Customers can chat

privately and exchange private direct messages with other customers and can communicate

with other customers through voice or video calls. Most direct messages are one-on-one

conversations, but customers have the option to invite up to nine other customers to the

conversation to create a private, group direct message (“GDM”), with a maximum size of ten

people. GDMs are not public and require an invite from someone in the group to join. Generally

speaking, each customer controls with whom they interact and what their experience on

Discord is. Discord respects its customers’ privacy as a “key part” of its mission. See Ex. D

(Discord Privacy Policy).

       On August 26, 2022, the government obtained search warrants to search and seize

records from the following Twitter customer accounts the government claimed belonged to the

following defendants: @PJ_Matlock (Matlock); @MrZackMorris (Constantinescu)

@ohheytommy (Cooperman); @Ultra_Calls (Rybarczyk); @hugh_henne (Hennessey);

@dipdiety (Knight); @LadeBackk (Hrvatin); and @notoriousalerts (Deel). See Ex E (4:22-MJ-

1999 through 4:22-MJ-2006, collectively, the “Twitter Warrants”) (filed under seal). The

government was commanded to execute the Twitter Warrants by September 9, 2022. Id. at 61-

92. Twitter was commanded to produce data pertaining to these customer accounts no later than

14 days from the Twitter Warrants’ issuance. Id. at 50.




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       On September 28, 2022, the government obtained search warrants to search and seize

records from the following Discord customer accounts the government claimed belonged to the

following defendants: PJ Matlock#0001(Matlock); Zack Morris#0001 & MrZackMorris#9856

(Constantinescu); TOMMY COOPS#5323 (Cooperman); Ultra#0374 (Rybarczyk); HUGH

BEAR:bear:#4034 (Hennessey); Dan, Deity of Dips#8114 (Knight); Lade Backk#6083

(Hrvatin); and Mystic Mac #7345 (Deel); and data from two Discord servers, Atlas Trading and

Sapphire Trading. See Ex. F (4:22-MJ-2314 through 4:22-MJ-2324) (filed under seal) (the

“Discord Warrants,” and collectively with the Twitter Warrants, the “Warrants”). The

government was commanded to execute the Discord Warrants by October 10, 2022. Id. at 59-

102. Discord was commanded to produce data pertaining to these customer accounts and servers

no later than 14 days from the Discord Warrants’ issuance. Id. at 47.

       The Warrants contained an “Attachment B” that delineated the scope of what could be

lawfully produced and seized by the Warrants, which consisted of two parts. The first part

commanded Twitter and Discord to produce all records pertaining to certain customer accounts

and the Discord servers identified in Attachment A. See Exs. E at 47-52 and F at 44-49

(Attachments A and B of Warrants). These records included nearly every conceivable piece of

private data collected by Twitter and Discord from the customers’ accounts, including the

following:

   •   All “communications, records, files, logs, or information that has been deleted [by the
       user] but is still available to Twitter”;

   •   “The content of all direct messages sent from, received by, stored in draft form in, or
       otherwise associated with the Account, including all attachments, multimedia, header
       information, metadata, and logs”;

   •   “All users the Account has followed, unfollowed, muted, unmuted, blocked, or
       unblocked, and all users who have followed, unfollowed, muted, unmuted, blocked, or
       unblocked the Account”;


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      •   “All records of searches performed by the Account from January 2020 to the present”;

      •   “All location information, including all location data collected by any plugins, widgets,
          or the ‘Tweet With Location’ service, from January 2020 to the present”;

      •   “All content, records, and other information relating to communications sent from or
          received by the [Discord] Accounts and Servers January 2020 to the present, including
          but not limited to . . . [t]he content of all posts created, drafted, favorited/liked, or
          reposted by the Accounts and Servers, and all associated multimedia, metadata, and
          logs”; and

      •   “The content of all [Discord] direct messages sent from, received by, stored in draft form
          in, or otherwise associated with the Accounts and Servers, including all attachments,
          multimedia, header information, metadata, and logs.”

Id. The second portion, “Section II,” of the Attachment Bs for the Warrants limited the scope of

what the government was authorized to seize. Id. The Warrants permitted “any government

personnel assisting in the investigation” to participate in the execution of the warrants to

determine what items were responsive and appropriate for seizure, including “law enforcement

officers and agents, attorneys for the government, attorney support staff, and technical experts.”

Id. The Warrants also stated that the FBI could deliver “a complete copy of the disclosed

electronic data” to the government attorneys assigned to this case “for their independent review.”

Id.

          On September 22, 2022, an FBI digital investigative analyst told one of the prosecutors

on this case that “[t]he returns have been processed but they require some manual work in order

for us to match up the communication with the media files inside of the return.” Ex. G (Sept.

2022 Email Chain). Four days later, Joseph Varani, one of the government’s testifying

witnesses, sent one of the prosecutors several zip files containing “the direct message files from

the Twitter returns.” Id. On September 27, 2022, Mr. Varani warned prosecutor Scott

Armstrong: “I want to note that I noticed some discrepancies in the timestamps of some tweets



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as reported by Axiom while checking over the results. If the timestamps of certain tweets are

important, I would recommend referring back to the original text files from Twitter.” Id.3

       At least by October 7, 2022, Discord produced data in response to the Discord Warrants,

which the FBI relayed to the prosecutors on this case. See Ex. H (Oct. 7, 2022 Discord email).

       On April 14, 2023—nearly seven months after Twitter produced data to the government

in response to the Twitter Warrants—the government disclosed to defense counsel that it

“recognized recently” during the government’s review of Twitter data produced in September

2022 that Twitter’s production to the government “did not contain corresponding

attachments/multimedia associated with certain Tweets and messages,” so the government went

back to Twitter, apparently under the authority of the September 2022 Twitter Warrant, and

demanded that Twitter “produce the missing multimedia files associated with the Tweets and

messages,” which the government then processed sometime in March 2023. Ex. I (Apr. 14, 2023

DOJ Letter). It appears that the government returned to Twitter a third time in April 2023,

demanding additional material from the @MrZackMorris account. See Ex J (Apr. 22, 2023

email from Twitter to J. Hale).

       On May 18, 2023, the government seized and produced to defense counsel “additional

materials that Discord and Twitter provided to us as part of our search warrants” that the

government conceded were “beyond the scope of what [the government] seized as part of the

search warrant and maintained in our case file.” See Ex. K (May 18, 2023 DOJ Letter)

(emphasis added). This production ignored the Section II seizure limitations imposed on the

Warrants and included the entirety of the data that Twitter and Discord produced to the




3
 The government withheld this email from defense counsel until August 2023, on the eve of the
prior trial date.

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government in response to Section I of the Warrants’ Attachment Bs, including private messages

and records not relevant to the investigation:

    •   “[a]ll direct and group messages from the individual Twitter account of each Defendant,
        regardless of whether the message . . . was seized and maintained as part of our case file”;

    •   “channels from the Atlas Trading and Sapphire Trading servers that we did not seize as a
        part of the Discord search warrant”; and

    •   “[a]ll direct messages . . . from the Discord account of each Defendant, regardless of
        whether the message . . . was seized and maintained as part of our case file.”

Id.; see also Exs. E & F (Section II limitations). The government admitted further that (again

notwithstanding that it had no authority to seize these records), someone from the government

“processed these materials in an excel file that is fully searchable and sortable.” See Ex. K. The

government’s production letter did not explain who specifically processed this data, whether the

excel file of processed data came from the Axiom tool with the timestamp issue, who made the

decision to seize, process, and produce data that exceeded the scope of the Warrants, when the

processing took place, and whether the government continued to maintain access to data it had

no authority to seize.

        On June 15, 2023, the government sent defense counsel a notice stating that it intended to

have Mr. Varani testify at trial about certain steps he took to process the Twitter search warrant

data. See Ex. L (June 15, 2023 DOJ Disclosure). The disclosure does not specify which tools

Mr. Varani used to process the data (other than mentioning that he ran Python script against text

files), did not disclose that he had previously used the Axiom tool against the Twitter search

warrant return data and obtained a potentially unreliable result with the data’s timestamps, or

whether he processed the data for production that the government has conceded was outside the

scope of its authority to seize.




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       On August 14, 2023, the government disclosed its trial exhibits. Many of the

government’s trial exhibits are recreated documents that purportedly incorporate information that

the government processed from the Twitter and Discord search warrant returns, including private

direct messages from Twitter and private messages sent through Discord customer accounts. At

least one of the exhibits reflects data from 2011—over ten years prior to the Warrants being

sought. See Ex. M (Gov’t Ex. 319) (filed under seal). The government also included as exhibits

several audio recordings purporting to be Twitter posts. It is unclear which of these trial exhibits

were created prior to the government’s decision to process and produce data it had no authority

to seize, or whether any of these trial exhibits came as a result of the government’s untimely,

unauthorized second knock at Twitter’s door for additional multimedia files.

       On August 16, 2023, the government produced additional materials that “related to” Mr.

Varani. See Ex. N (Aug. 16, 2023 DOJ Letter). The government again conceded that the August

2023 production “contain[ed] the preliminary processing of the defendants’ social-media activity

from Discord and Twitter and in many cases exceeds the scope of material that was seized as

part of the search warrants in this case.” Id. (emphasis added). On September 13, 2023,

defense counsel requested disclosure from the government about the “timestamp issue” created

by the Axiom tool and identification of the items in discovery that were affected by the

“timestamp issue” highlighted by Mr. Varani. See Ex. O (Sept. 13, 2023 Letter from J. Solano to

S. Armstrong). In response, the government refused to disclose what the problem is with the

Axiom tool and its effect on the Twitter search warrant data’s timestamps, assuring defense

counsel without detail that the problem is “not relevant” in light of their overbroad productions. 4



4
  Suffice it to say that timestamps of the defendants’ tweets are extremely important in this case.
To the extent the government produced wholesale the underlying Twitter data to obviate a failure
to appropriately and timely disclose a problem with the timestamps in the government’s

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See Ex. P (Oct. 2023 email chain between J. Solano and S. Armstrong). The government

clarified further that it was “not going to spend [its] time going through discovery to run down

[the] issue” of what produced documents were affected by the timestamp issue raised by its

government witness. See id.

                    STATEMENT OF LEGAL AUTHORITY AND ANALYSIS

      I.      Defendants had a reasonable expectation of privacy in the data collected from their
              Twitter and Discord accounts.

           Defendants had a reasonable expectation of privacy warranting Fourth Amendment

protection over the private data stored in their Twitter and Discord accounts. The Fifth Circuit

has made clear that “[c]ommunications content, such as the contents of letters, phone calls, and

emails, which are not directed to a business, but simply sent via that business, are generally

protected” from government intrusion absent a search warrant. In re U.S. for Historical Cell Site

Data, 724 F.3d 600, 611 (5th Cir. 2013), overruled on other grounds by Carpenter v. United

States, 138 S.Ct. 2206 (2018). Here, Defendants’ social media accounts contained private

content and messages akin to email, which were not directed towards Twitter and Discord, but

merely facilitated by these services’ online platforms.

           The Sixth Circuit was the first federal appellate court to confront the question of whether

the content of a customer’s email account deserved Fourth Amendment protection, ultimately

concluding that it was entitled to “strong protection” under the Constitution. See United States v.

Warshak, 631 F.3d 266, 285-86 (6th Cir. 2010). The Sixth Circuit started with “two bedrock

principles”:

           First, the very fact that information is being passed through a communications
           network is a paramount Fourth Amendment consideration. See Katz v. United

produced discovery material, such conduct would further support suppression. Constantinescu
respectfully requests that this issue be examined further at the hearing.

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        States, 389 U.S. 347, 352 (1967); United States v. U.S. Dist. Court, 407 U.S. 297,
        313 (1972) (“[T]he broad and unsuspected governmental incursions into
        conversational privacy which electronic surveillance entails necessitate the
        application of Fourth Amendment safeguards.”).

        Second, the Fourth Amendment must keep pace with the inexorable march of
        technological progress, or its guarantees will wither and perish. See Kyllo v. United
        States, 533 U.S. 27, 34 (2001) (noting that evolving technology must not be
        permitted to “erode the privacy guaranteed by the Fourth Amendment”); see also
        Orin S. Kerr, Applying the Fourth Amendment to the Internet: A General Approach,
        62 Stan. L. Rev. 1005, 1007 (2010) (arguing that “the differences between the facts
        of physical space and the facts of the Internet require courts to identify new Fourth
        Amendment distinctions to maintain the function of Fourth Amendment rules in an
        online environment”).

Id.

        With these principles in mind, the Sixth Circuit analyzed the Fourth Amendment’s

protections of more traditional forms of communication, including telephone conversations and

letters. Id. at 285. The Court concluded that “[g]iven the fundamental similarities between email

and traditional forms of communication, it would defy common sense to afford emails lesser

Fourth Amendment protection.” Id. at 285-86 (citing City of Ontario v. Quon, 560 U.S. 746

(2010) (implying that “a search of [an individual’s] personal e-mail account” would be just as

intrusive as “a wiretap on his home phone line”) (other citations omitted). The Court concluded

that “email requires strong protection under the Fourth Amendment; otherwise, the Fourth

Amendment would prove an ineffective guardian of private communication, an essential purpose

it has long been recognized to serve.” Id.

        Since Warshak, both the Supreme Court and the government have increasingly

recognized broad Fourth Amendment protection over other aspects of an individual’s

electronically stored data and communications. In Riley v. California, the Supreme Court held

that the Fourth Amendment requires police to obtain a warrant to search a person’s cell phone,

recognizing the “vast quantities of personal information” stored on phones and cloud storage.



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573 U.S. 373, 386 (2014). And later, in Carpenter v. United States, the Supreme Court

recognized that a search warrant was required to obtain location data from cell phone providers

because “[t]hese location records hold for many Americans the privacies of life” and can be

accessed “at practically no expense” “[w]ith just the click of a button.” 138 S. Ct. at 2217-18

(internal quotation marks omitted). The government has also taken the position that third parties

cannot obtain a Facebook customer’s account data from Facebook because “[s]uch a conclusion

would run counter to the Supreme Court’s recognition of individuals’ privacy interests in their

own electronically stored data and information.” Br. for United States at 26-27, In re Facebook,

199 A.3d 625 (D.C. 2019) (No. 18-SS-958) (citations omitted) (attached hereto as Ex. Q).

          Congress has also recognized a privacy interest in the content of electronically stored

communications. The Fifth Circuit has acknowledged that “[a] legislative body is well situated

to gauge changing public attitudes, to draw detailed lines, and to balance privacy and public

safety in a comprehensive way.”” In re U.S. for Historical Cell Site Data, 724 F.3d at 614

(quoting United States v. Jones, 565 U.S. 400, 429 (2012) (Alito, J., concurring in the

judgment)). The Stored Communications Act (SCA), 18 U.S.C. §§ 2701-2713, highlights a

legislatively recognized privacy interest in the content of electronically stored data, including

social media accounts. Generally speaking, under the SCA, any entity providing “an electronic

communication service to the public” (like Twitter and Discord) “shall not knowingly divulge to

any person or entity the contents of a communication while in electronic storage by that service,”

thus providing legislative protection for individual customers’ private, electronically stored data.5

18 U.S.C. § 2702(a)(1). The Congressionally mandated protection, “balances individual privacy




5
    The SCA contains several exceptions to this rule, not applicable to the situation here.

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interests with the need to obtain evidence from service providers[.]” Ex. Q at 26-27 (Brief for

United States).

        Here, the private content of Defendants’ Twitter and Discord accounts is the functional

equivalent of calls, mail, and email—and deserving of no less protection under the Fourth

Amendment. “[T]echnological changes can alter societal expectations of privacy.” In re U.S.

for Historical Cell Site Data, 724 F.3d at 614. And, “because “technology has enhanced the

Government's capacity to encroach upon areas normally guarded from inquisitive eyes,” courts

have rejected “mechanical interpretation[s]” of the Amendment to “assure preservation of that

degree of privacy against government [encroachment] that existed when the Fourth Amendment

was adopted.” United States v. Chavez, 423 F. Supp. 3d 194, 202-03 (W.D.N.C. 2019)

(alterations in original) (applying Fourth Amendment protection to Facebook account) (quoting

Carpenter, 138 S. Ct. at 2214); United States v. Irving, 347 F. Supp. 3d 615, 618 (D. Kan. 2018)

(suppressing evidence obtained via warrant of Facebook account). These accounts were

password protected and, in the case of the Discord servers, members had to agree to certain terms

of service before entering the servers and could be removed. Both Twitter and Discord had

measures in place to protect its customers’ privacy, and there is no question that the Government

could not have obtained the data it sought by the Warrants absent obtaining a search warrant

commanding Twitter and Discord to produce materials. Under these circumstances, the Twitter

and Discord data is deserving of Fourth Amendment protection akin to more traditional phone

calls, letters, and emails.




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     II.      The government ignored the Warrants’ limitations and violated the Fourth
              Amendment’s longstanding prohibition against general searches.

           The government’s conduct in this case was intentional and repeatedly exceeded the limits

imposed by the Warrants, rendering the government’s handling of the Twitter and Discord search

warrant data an illegal, general search. The Fourth Amendment to the Constitution states that:

           The right of the people to be secure in their persons, houses, papers, and effects,
           against unreasonable searches and seizures, shall not be violated, and no Warrants
           shall issue, but upon probable cause, supported by Oath or affirmation, and
           particularly describing the place to be searched, and the persons or things to be
           seized.

U.S. Const. amend. IV. “The ‘Fourth Amendment was the founding generation’s response to the

reviled ‘general warrants’ and ‘writs of assistance’ . . . [that] allowed British officers to rummage

through homes in an unrestrained search for evidence of criminal activity.’” United States v.

Opoku, 556 F. Supp. 3d 633, 638-39 (S.D. Tex. 2021) (quoting Riley, 573 U.S. at 403). “General

searches have long been deemed to violate fundamental rights. It is plain that the [Fourth]

amendment forbids them.” Marron v. United States, 275 U.S. 192, 195 (1927).

           The Fourth Amendment expressly requires that all searches and seizures must be

reasonable, and that a warrant may not be issued unless “the scope of the authorized search is set

out with particularity.” Kentucky v. King, 563 U.S. 452, 459 (2011). The particularity

requirement of “requiring a ‘particular description’ of the things to be seized” prevents “the

specific evil [of] the ‘general warrant’ abhorred by the colonists, . . . a general, exploratory

rummaging in a person’s belongings.” Coolidge v. New Hampshire, 403 U.S. 443, 467 (1971).

Put another way:

           The manifest purpose of this particularity requirement was to prevent general
           searches. By limiting the authorization to search to the specific areas and things
           for which there is probable cause to search, the requirement ensures that the search
           will be carefully tailored to its justifications, and will not take on the character of
           the wide-ranging exploratory searches the Framers intended to prohibit.


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Maryland v. Garrison, 480 U.S. 79, 84 (1987) (footnote omitted). And, of course, “[t]he general

touchstone of reasonableness which governs Fourth Amendment analysis governs the method of

execution of the warrant.” United States v. Ramirez, 523 U.S. 65, 71 (1998) (internal citation

omitted). The Fifth Circuit has recognized that “[b]latant disregard by executing officers of the

language of a search warrant can transform an otherwise valid search into a general one[.]”

United States v. Kimbrough, 69 F.3d 723, 728 (5th Cir. 1995).

               A. The government ignored the Twitter Warrants’ 14-day limitation to execute the
                  warrants.

       The government’s decision to demand account records from Twitter under the authority

of a warrant that had been expired for several months was an unreasonable disregard of the

search warrant’s temporal limitations. Federal Rule of Criminal Procedure 41(e)(2)(A) makes

clear that a warrant to search or seize property “must identify the . . . property to be searched,

identify any . . . property to be seized,” and “must command the officer to . . . execute the

warrant within a specified time no longer than 14 days[.]” Fed. R. Crim. P. 41(e)(2)(A)

(emphasis added). Rule 41(e)(2)(B) provides that for a warrant seeking electronically stored

information, “[t]he time for executing the warrant in Rule 41(e)(2)(A) refers to the seizure . . . of

the media or information[.]” Fed. R. Crim. P. 41(e)(2)(B). In other words, the government had

14 days to seize the electronically stored information from Twitter. Here, Twitter produced

information in response to the warrant in September 2022. While the government had additional

time to review that data so long as the review was reasonable, neither Rule 41 nor the Twitter

Warrants authorized what the government did here: seize data from Twitter in response to the

Twitter Warrants and then, several months after the government had been reviewing the data and

the warrants had expired, go back to the well and try to get more records from Twitter.




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               B. The government ignored the limitations contained in Section II of Attachment
                  B of the Warrants, rendering the use of the data an illegal general search.

       The government’s decision to have its lawyers maintain an “independent” copy of the

raw data without any time limitation, along with the government’s repeated decision to produce

to all of the defendants in this case information—including communications—from data that the

government had no authority to seize, was unreasonable and rendered this a general search. “To

avoid fatal generality, the place and items to be seized must be described with sufficient

particularity so as to leave nothing to the discretion of the officer executing the warrant.” Opoku,

556 F. Supp. 3d at 642 (finding suppression appropriate when the warrant was overbroad, not

particular, and in violation of the Fourth Amendment). “Warrants that authorize an ‘all records’

search require ‘much closer scrutiny’ under the Fourth Amendment and are only upheld in

‘extreme cases’ where the alleged crime is pervasive, closely intertwined with the place to be

searched, and the items to be seized are sufficiently limited and linked to the alleged crime.” Id.

(quoting United States v. Humphrey, 104 F.3d 65, 69 (5th Cir. 1997)).

       Several courts have recognized that reading search warrants of electronic data to permit

effective wide-scale seizure of an entire account’s content risks the impermissible blessing of a

general warrant. Law enforcement’s need for authority “to examine electronic records . . .

creates a serious risk that every warrant for electronic information will become, in effect, a

general warrant, rendering the Fourth Amendment irrelevant.” In re Comprehensive Drug

Testing, Inc., 621 F.3d 1162, 1176 (9th Cir. 2010) (en banc), overruled in part on other grounds

as recognized by Demaree v. Pederson, 887 F.3d 870, 876 (9th Cir. 2018). “Given the

heightened potential for government abuse of stored electronic data, it is imperative that courts

ensure that law enforcement scrupulously contain their searches to the scope of the search




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warrant which permitted the search in the first place.” United States v. Nasher-Alneam, 399 F.

Supp. 3d 579, 595 (S.D. W.Va. 2019).

       Sanctioning a warrant that authorizes government access to “all the records [in a

person’s] email account,” for example, “would essentially sanction the government’s use of a

modern-day general warrant, granting the government access to arguably some of the most

sensitive pieces of an individual’s life.” United States v. Moulder, 2022 WL 3644893, at *4 (D.

Minn. Aug. 24, 2022). “It is hard to imagine that such a warrant would not be abhorred by our

Founding Fathers.” Id.; see also In re Applications for Search Warrants for Case Nos. 12-MJ-

8119-DJW and Information Associated with 12-MJ-9191-DJW Target Email Address, Nos. 12-

MJ-8119, 12-MJ-8191, 2012 WL 4383917, at *6 (D. Kan. Sept. 21, 2012) (“In addition to the

places to be searched, the warrant must also describe the things to be seized with sufficient

particularity. This is to avoid a ‘general exploratory rummaging of a person’s belongings,’ and

was included in the Fourth Amendment as a response to the evils of general warrants.”); see also

In the Matter of the Search of Information Associated with [redacted]@mac.com that is Stored

at Premises Controlled by Apple, Inc., 25 F. Supp. 3d 1, (D.D.C. 2014) (denying warrant

application as facially overbroad).

       In the context of the two-step “Attachment B” review that the government said it would

abide by in its Warrants affidavits, several courts have expressed discomfort with this approach

because it runs the risk of permitting the government to—as it did in this case—ignore the Fourth

Amendment’s particularly requirement. Indeed, several courts have “share[d] the concern that

there is a strong possibility of abuse by the government in using warrants authorized under Rule

41” “to initially seize massive amounts of data which the government then parses through to

‘seize’ the records supported by probable cause.” Moulder, 2022 WL 3644893, *5; see also In




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re [REDACTED]@gmail.com, 62 F. Supp. 3d 1100, 1104 (N.D. Cal. 2014) (“This unrestricted

right to retain and use every bit Google coughs up undermines the entire effort the application

otherwise makes to limit the obvious impact under the plain view doctrine of providing such

unfettered government access.”); In Matter of Search of Information Associated with Facebook

Account Identified by the Username Aaron.Alexis that is Stored a Premises Controlled by

Facebook, Inc.,(“In re Facebook Aaron.Alexis”), 21 F. Supp.3d 1, 9 (D.D.C. 2013); Matter of

the Search of Information Associated with [redacted]@mac.com, 25 F. Supp. 3d at 9 (“What the

government proposes is that this Court issue a general warrant that would allow a ‘general,

exploratory rummaging in a person’s belongings”—in this case an individual’s e-mail account.”)

(quoting Coolidge, 403 U.S. at 467).

       Other courts have addressed this concern by requiring—at the time the warrant is

issued—“the government to destroy all contents and records that are not within the scope of the

investigation as outlined in the search warrant.” See, e.g., Matter of the Search of Information

Associated with [redacted]@mac.com, 25 F. Supp. 3d at 9 (denying electronic search warrant

applications as violative of the Fourth Amendment’s particularity requirement because, in part,

the proposed warrant did not require the government to destroy all content and records not within

the scope of the warrant). Courts have introduced these measures to stop the government from

approaching electronic data with a cavalier level of care, continually accessing, processing, and

producing data that goes far beyond the scope of the warrant. Accord Nasher-Alneam, 399 F.

Supp. 3d at 591 (“the Government cites, and the Court is aware of, no authority suggesting that

simply because it has retained all originally searchable electronic materials, the Government is

permitted to return to the proverbial well months or years after the relevant Warrant has expired

to make another sweep for relevance, armed with newly refined search criteria and novel case




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theories”); In re Facebook Aaron.Alexis, 21 F. Supp. 3d at 10 (“Without such an order [requiring

nonresponsive records to be destroyed], this Court is concerned that the government will see no

obstacle to simply keeping all of the data that it collects, regardless of its relevance to the

specific investigation for which it is sought and whether the warrant authorized its seizure.”).

       Here, the Warrants permitted not only the investigating law enforcement agency to

review materials that it was ultimately permitted to seize, but also seemingly permitted the

government attorneys and DOJ support staff to have unlimited access to all of the data for their

“independent review.” See Exs. E & F. The Constitution and Rule 41 do not contemplate that

government attorneys are excused from the particularity requirements of the Fourth Amendment.

The concept of lawyers maintaining and rummaging through an entire dataset for an

indeterminate amount of time that contains materials that far exceed the scope of what law

enforcement can lawfully seize is repugnant to the Fourth Amendment and constitutes a

prohibited general search. Accord In re Facebook Aaron.Alexis, 21 F. Supp. 3d at 9 (insisting

that “some safeguards must be put in place to prevent the government from collecting and

keeping indefinitely information to which it has no right.”).

       But even putting aside the government attorneys’ copy of data for “independent review,”

here, the government has acknowledged on more than one occasion that it intentionally exceeded

the bounds and limitations of the Warrants and produced records that it had no legal authority to

seize—much less disseminate to third parties. See Exs. K & N. The government’s actions

essentially ignored the Section II limitation within the Attachment B of the Warrants, and

insodoing grossly exceeded the scope of the searches, turning them into general searches.

Accord In re Facebook Aaron.Alexis, 21 F. Supp. 3d at 8 (“By distinguishing between the two

categories, the government is admitting that it does not have probable cause for all of the data




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that Facebook would disclose; otherwise, it would be able to ‘seize’ everything that is given to

it.”).

            The government admitted that it took data that it received as a result of the Warrants, it

acknowledged that the data was beyond the scope of the seizure authority granted by those

Warrants, and it nonetheless chose to seize, process, and produce that data to several different

defense teams in this case. That was not reasonable. Nor was the government’s decision to

return to Twitter several months after the deadlines set forth in the Twitter Warrants to seek

additional records from Twitter without additional legal authority, reasonable. Nor was the

purported authorization that the government’s attorneys be permitted to maintain a full set of

records for their “independent review,” regardless of Section II of the Attachment B, reasonable.

These actions plainly transformed the Warrants into a general search that the Fourth Amendment

does not permit. Accord United States v. Wey, 256 F. Supp. 3d 355, 405 (S.D.N.Y. 2017)

(finding blanket suppression appropriate in continued searches of electronic evidence and noting

as relevant that the AUSAs had “no qualms” about continually searching through electronic

evidence and “when questioned about the continuing searches at oral argument, the Government

appeared to take the somewhat surprising position that it would be well within the Government’s

rights to search retained electronic material that it had already deemed unresponsive to the

Warrants”).

     III.      Suppression of all data derived from the general search and testimony regarding the
               same is necessary, and the government should be ordered to stop disseminating the
               data to others.

            Here, suppression of the data obtained from the Warrants and any testimony regarding

the same is necessary in light of the government’s egregious and deliberate Fourth Amendment

violation and decision to exceed the Warrants’ limitations. As this Court knows, the “Supreme



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Court ‘created the exclusionary rule, a deterrent sanction that bars the prosecution from

introducing evidence obtained by way of a Fourth Amendment violation.’” United States v.

Cheng, 2022 WL 112025, at *4 (S.D. Tex. Jan. 12, 2022) (Hanen, J.) (quoting Davis v. United

States, 564 U.S. 229, 231-32 (2011)). “Generally, the exclusionary rule prohibits the introduction

at trial of all evidence that is derivative of an illegal search, or evidence known as ‘fruit of the

poisonous tree.’” Id. (quoting United States v. Hernandez, 670 F.3d 616, 620 (5th Cir. 2012)).

               A. Suppression of all evidence seized during the search is the remedy for a
                  general search.

        The Fifth Circuit has made clear that when the government “[b]latant[ly] disregard[s] . . .

the language of a search warrant,” the nonobservance can “transform an otherwise valid search

into a general one and, thus, mandate suppression of all evidence seized during the search.”

United States v. Kimbrough, 69 F.3d 723, 728 (5th Cir. 1995) (emphasis added); see also United

States v. Rettig, 589 F.2d 418, 423 (9th Cir. 1978) (concluding that all evidence seized during the

search must be suppressed when “[a]s interpreted and executed by the agents, this warrant

became an instrument for conducting a general search”). “The flagrant use of a warrant to

conduct a general search triggers the blanket suppression doctrine regardless of whether the

general search involves the physical seizure of evidence.” United States v. Coleman, 2016 WL

11611386, at *11 (D.N.M. Aug. 26, 2016); United States v. Schlingloff, 901 F. Supp. 2d 1101,

1106 (C.D. Ill. 2012) (granting suppression where scope of the warrant was exceeded because

“[a]ny other outcome would be contrary to the intent of the Fourth Amendment that search

warrants must describe with particularity the things to be seized, so that a search for specified

evidence does not devolve into a generalized search for something entirely different”).

       Here, the government has admitted that on several occasions it ignored the temporal

limitations within the Warrants and completely ignored the scope of the second step mandated by



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the Warrants altogether, and produced the material to several people in this case even though it

lacked any legal authority to do so. The government’s second demand to Twitter for additional

data, coupled with its repeated decision to access, process, and produce material it had no

authority to seize, wholly offends the Fourth Amendment and demands blanket suppression.

       Several courts have found blanket suppression appropriate under similar circumstances

involving general searches. For example, in Wey, the district court determined that blanket

suppression of electronic evidence was appropriate where, as here, the government’s conduct

“cannot be credibly explained by exigent circumstances, by simple mistake, or by mere

negligence.” 256 F. Supp. 3d at 408. Similarly, in Nasher-Alneam, the court found blanket

suppression appropriate in a case involving electronic evidence, noting that “the need for

deterring future similar conduct is significant. . . [g]iven the heightened potential for government

abuse of stored electronic data,” a concern that is “especially true where, as here, the illegal

search was conducted at the behest of lawyers—the people in the best position to know what was

allowed under the law.” 399 F. Supp. 3d at 595.

       Here, deterrence demands suppression of the Twitter and Discord data that the

government transformed into a general search. Otherwise, the government will be encouraged to

continue to maintain access and dig through large data sets plainly outside the scope of an

electronic evidence warrant all while taking the unjustifiable position that producing the

materials to third-parties and processing the data is constitutionally permissible, notwithstanding

the complete lack of authority to even seize the data. The continued ignorance of the line

between what the government properly seized and what was outside the scope of what it was

permitted to seize offends the Fourth Amendment.




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               B. The good-faith exception to the exclusionary rule does not apply because the
                  government agents did not rely on the Warrants’ limitations while executing
                  the Warrants.

       The good-faith exception to the exclusionary rule does not apply in this case because the

government did not appropriately rely upon the Warrants—they instead ignored its limitations

when they executed it, rendering it an illegal general search. In deciding Leon, the Supreme

Court made clear that “the deterrent effect of excluding evidence obtained in reasonable reliance

on a subsequently invalidated warrant assumes, of course, that the officers properly executed the

warrant and searched only those places and for those objects that it was reasonable to believe

were covered by the warrant.” United States v. Leon, 468 U.S. 897, 918 n.19 (1984) (emphasis

added); see also United States v. Medlin, 798 F.2d 407, 410 (10th Cir. 1986) (recognizing that

Leon’s good-faith exception does not apply when the limitations of a warrant are ignored

because, in such instance, police conduct should be deterred). Here, by contrast, the government

did not properly execute the Warrants in accordance with their limitations—it instead ignored the

key limitations necessary for the warrants to not be illegal general searches. The decisions were

deliberate, conducted by attorneys, and came notwithstanding the large volume of cases

repeatedly expressing discomfort and distrust that the government would violate the Constitution

by ignoring the Section II step of search warrants issued to electronic communication providers.

Against this backdrop, the government did not act in good faith reliance on the Warrants or the

applicable case law when it executed the searches, and thus, Leon does not save its actions.




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                C. The inevitable discovery doctrine is similarly unavailable where the
                   government choses to ignore the proscriptions contained in a warrant.

       Nor is the government’s decision to disseminate Defendants’ private social media

communications protected under the inevitable discovery doctrine. The inevitable discovery

doctrine “asks whether there is a reasonable probability that the evidence in question would have

been discovered in the absence of the police misconduct.” United States v. Zavala, 541 F.3d

562, 579 (5th Cir. 2008). “In order for the exception to apply, the prosecution must demonstrate

both a reasonable probability that the evidence would have been discovered in the absence of

police misconduct and that the government was actively pursuing a substantial alternate line of

investigation at the time of the constitutional violation.” United States v. Cherry, 759 F.2d 1196,

1205-06 (5th Cir. 1985).

       Here, the government cannot show that it was actively pursuing an alternate line of

investigation at the time of its constitutional violations. The government’s violations continued

into August 2023, even after the government had produced its trial exhibits and repeatedly

claimed it stood ready to proceed to trial in this case. The investigation was done, and inevitable

discovery is not available. See, e.g., United States v. Li, 2016 WL 2016 WL 5407874, at *7

(N.D. Miss. Sept. 16, 2016) (finding inevitable discovery doctrine inapplicable where there was

no evidence that the officers were actively pursuing a search warrant at the time of the

constitutional violation). As the Fifth Circuit explained in Cherry, “a contrary result would

cause the inevitable discovery exception to swallow the rule by allowing evidence otherwise

tainted to be admitted merely because the police could have chosen to act differently[.]” 759

F.2d at 1205.




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                                          CONCLUSION

       Accordingly, Defendants respectfully requests that the Court: (1) suppress the data

obtained by the Warrants; (2) order that the government (including the SEC and FINRA) and any

third-party with whom the government has shared the search warrant data with are to destroy or

return the data obtained by the Warrants; (3) order the government to identify each individual

who has had access to the data obtained by the Warrants and provide them a copy of the order

demanding its destruction or return; and (4) suppress any testimony related to the same.

       While the government has seemingly conceded through the course of its production

letters that it has violated the limitations authorized by the Warrants, to the extent there is a

factual dispute surrounding the government’s conduct, Defendants respectfully request that the

Court hold a hearing where the government should be prepared to describe in detail how it

maintained, accessed, processed, and produced the data outside the scope of the Warrants.

Accord United States v. Rogers, 481 F. App’x 157, 158-59 (5th Cir. 2012) (when the allegations

set forth in a defendant’s suppression motion are ‘sufficiently definite, specific, detailed, and

nonconjectural,” such that a “substantial claim is presented,” a “hearing is required”) (citing




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United States v. Harrelson, 705 F.2d 733, 737 (5th Cir.1983)).

Dated: October 18, 2023

                                                    Respectfully submitted,


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                                 CERTIFICATE OF SERVICE
       I hereby certify that on October 18, 2023, a true and correct copy of the foregoing
document has been electronically served on all counsel of record via the Court’s CM/ECF
system.

                                                     /s/ Jamie H. Solano
                                                    Jamie H. Solano




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